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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,                    CRIMINAL NO. 12-20218

       v.                                          HON. LAWRENCE P. ZATKOFF

D-11 TIMOTHY MICHAEL SANDERS,

                 Defendant.
___________________________/


                                  OPINION AND ORDER

       This matter is before the Court on the Government’s Motion to Schedule Defendant

Timothy Sanders for a Joint Trial and to Determine Excludable Delay under the Speedy Trial

Act (Docket #159). The Government sought concurrence from Defendant Timothy Sanders

(“Sanders”) with respect to the motion, but concurrence was denied. Sanders’ counsel,

however, has informed the Court that: (a) Sanders does not concur with the Government’s

motion, but (b) will not be filing a response in opposition to the motion. The Court finds that

the facts and legal arguments pertinent to the motion are adequately presented in the

Government’s papers, and the decision process will not be aided by oral arguments.

Therefore, pursuant to E.D. Mich. Local R. 7.1(f)(2), it is hereby ORDERED that the motion

be resolved on the papers submitted, without this Court entertaining oral arguments.

       For the reasons set forth below and in the Government’s motion and accompanying

brief, all of which are undisputed, the Court holds that: (1) Sanders will be tried with
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Defendant Timothy Carpenter (“Carpenter”) on December 3, 2013, and (2) the time between

October 3, 2013 and the new final plea cut-off date of October 29, 2013, constitutes

excludable delay under the Speedy Trial Act.

                                  I. RELEVANT FACTS

      The Court specifically notes the following facts that serve as the basis for the Court’s

conclusions.

      1.       On July 26, 2013, defendant Timothy Sanders was arraigned on the Fourth

               Superseding Indictment charging him, along with Carpenter, Sedric Bell-Gill

               and Patrick Heard with various inter-related robberies of cellular telephone

               stores and attendant firearm charges.

      2.       Carpenter has had an established trial date of December 3, 2013 for several

               months.

      3.       Sanders and his counsel have been aware of the December 3, 2013 trial date

               for more than two months – and that if Sanders were to go to trial, he would

               be tried at a joint trial with (at least) Carpenter on December 3, 2013.

      4.       Following Sanders’ arraignment, counsel for the government and Sanders’

               counsel engaged in plea negotiations. Prior to the initial plea cut-off date of

               August 29, 2013, Sanders asked for and received an extensions of the plea cut-

               off date in order to review discovery materials and consider the Government’s

               plea offer. The plea cut-off dates were ultimately extended to October 3, 2013,

               after all parties stipulated that the time was excludable delay for purposes of

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             the Speedy Trial Act and this Court entered an order to that effect.

      5.     Due to unforeseen circumstances, the Court was unavailable to conduct the

             plea hearing on October 3, 2013.

      6.     Sanders has not moved to sever his case from the other co-defendants.

      7.     There are many other defendants who have been charged and pled guilty in

             this case; five of those defendants are expected to testify at trial and their

             sentencing have been delayed so that the Government and the Court can

             consider whether their testimony might impact the sentences to be

             recommended for and imposed upon such defendants, respectively.

      8.     Sanders is a state prisoner whose custody status is not affected by this case and

             who is facing a very lengthy sentence in this case, if convicted.

                                       II. ANALYSIS

A.    Joint Trial

      Based on the facts set forth above, the Court finds that there are a number of

compelling reasons exist to try Sanders and Timothy Carpenter together:

             A.     Prevention of unnecessary delay;

             B.     Conservation of judicial and government resources;

             C.     Reducing the enormous burden on witnesses and victims imposed by

                    multiple trials;

             D.     Increasing fairness to all defendants; and

             E.     Avoiding possible inconsistent verdicts by different trials and juries.

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As the Sixth Circuit has explained:

       [A] strong policy presumption exists in favor of joint trials when charges will
       be proved by the same evidence and result from the same acts. Society has an
       interest in speedy and efficient trials. Separate trials produce additional labor
       for judges and juries, which results from the unnecessary repetition of
       evidence and trial procedures. Moreover, the risk of prejudice to defendants
       in a joint trial is presumably low, because juries are presumed capable of
       sorting evidence and considering separately each count and each defendant.

United States v. Caver, 470 F.3d 220, 238 (6th Cir. 2006) (internal citations omitted). A

single trial would not only serve the instruction of the Sixth Circuit, but would significantly

conserve judicial and government resources by eliminating weeks of trial time that would

otherwise be required for the government to present “the same evidence again and again.”

Richardson v. Marsh, 481 U.S. 200, 210 (1987). Similarly, a single trial would reduce the

burden and trauma on witnesses and victims. A joint trial would also enhance the reliability

and fairness of the jury’s determinations by leveling the playing field among the two co-

defendants, rather than “randomly favoring the last-tried defendant.” Id. Moreover, a joint

trial will guard against prejudice for both sides by avoiding the problem of being tried

alongside an “empty chair.” See United States v. Driver, 535 F.3d 424, 427 (6th Cir. 2008);

United States v. Davidson, 936 F.2d 856, 861 (6th Cir. 2005).

       For the reasons stated above, the Court grants Government’s motion to have Sanders

tried jointly with Carpenter.

B.     Speedy Trial Act

       As to whether the time between October 3, 2013 and the new plea cut-off date of

October 29, 2013 should be excludable delay, the Court finds that there are two reasons for

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making such a finding. First, the delay is attributable to the unforeseen availability of the

Court to conduct the plea conference on October 3, 2013 and the October 29, 2013 date being

the first date such plea conference could be conducted. Second, the parties continue to

engage in plea negotiations, counsel for Sanders continues to say he needs discovery in order

for Sanders to determine whether to plead guilty, and the parties have yet to specify to the

Court what their intentions are with respect to the plea conference.

       In addition, the Speedy Trial Act supports a finding that the period between up to the

December 3, 2013 trial should be treated as excludable delay based on the benefits inherent

to a joint trial, for the reasons stated in parts A-E above. For example, the Speedy Trial Act

provides excludable delay for: “A reasonable period of delay when the defendant is joined

for trial with a codefendant as to whom the time for trial has not run and no motion for

severance has been granted.” 18 U.S.C. §3161(h)(6). The Speedy Trial Act also excludes

delay “resulting from any proceeding.” §3161(h)(1)(A). Plea negotiations constitute “other

proceedings concerning the defendant” within the meaning of 18 U.S.C. § 3161(h)(1)(A),

see United States v. Dunbar, 357 F.3d 582, 593 (6th Cir. 2004); United States v. Bowers, 834

F.2d 607, 609-10 (6th Cir. 1987). Significantly, counsel for Sanders has admitted that he has

engaged in plea negotiations with the Government and, in fact, is still considering the

Government’s proposed resolution of this matter.

       Finally, an additional valid basis for scheduling a joint trial with Sanders and

Carpenter on December 3, 2013 is the Government’s understandable desire to have

continuity of counsel and to have sufficient time to competently prepare the case for trial

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without risking a miscarriage of justice. The Speedy Trial Act also provides for this

circumstance, as Section 3161(h)(7)(B)(I) states that the Court may consider whether the

failure to grant a requested continuance would “result in a miscarriage of justice” and

whether the failure to grant the continuance “would unreasonably deny . . . the Government

continuity of counsel” or “the attorney for the Government the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.”

       For the reasons stated above, the Court grants Government’s motion to have the

period of time between October 3, 2013 and December 3, 2013 treated as excludable delay

under the Speedy Trial Act.




                                   III. CONCLUSION

       Accordingly, and for the reasons set forth above, the Court hereby GRANTS the

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Government’s Motion to Schedule Defendant Timothy Sanders for a Joint Trial and to

Determine Excludable Delay under the Speedy Trial Act (Docket #159).

      IT IS SO ORDERED.


                                       S/Lawrence P. Zatkoff
                                       LAWRENCE P. ZATKOFF
                                       UNITED STATES DISTRICT JUDGE


Dated: October 21, 2013




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